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8                                  UNITED STATES DISTRICT COURT
9                                 SOUTHERN DISTRICT OF CALIFORNIA
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11    IN RE TRANSFER OF CASES FROM                    ORDER OF TRANSFER
      MAGISTRATE JUDGE MICHAEL S. BERG
12
      TO MAGISTRATE JUDGE DANIEL E.
13    BUTCHER
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16         IT IS HEREBY ORDERED that the following listed cases are transferred from the
17   calendar of the Honorable Michael S. Berg, to the calendar of the Honorable Daniel E.
18   Butcher for all further proceedings. All pending dates including discovery deadlines,
19   hearings, and conferences before Magistrate Judge Berg, if any, remain unchanged until
20   further order and are now SET before Magistrate Judge Daniel E. Butcher. Any dates set
21   before any district judge remain unchanged.
22
23   Case No.             Title
24   18cv13-WQH           D.C., et al. v. County of San Diego, et al.
25   18cv373-BEN          Pulse Electronics, Inc. v. U.D. Electronic Corp.
26   18cv1601-AJB         Thomas v. Spencer, et al.
27   18cv2287-GPC         Securities and Exchange Commission v. Blockvest, LLC, et al.
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                                                                                   [Case Number]
     Case 3:20-cv-00410-MMA-DEB Document 80 Filed 06/17/20 PageID.400 Page 2 of 2

1    18cv2494-WQH           MabVax Therapeutics Holdings, Inc. v. Sichenzia Ross Ference,
2                           LLP, et al.
3    19cv920-AJB         Ra Medical Systems, Inc. v. Geiger, et al.
4    20cv410-MMA         Power Integrations, Inc. v. Silanna Semiconductor North America,
5                           Inc., et al.
6    20cv738-CAB         Williams v. Yanez, et al.
7          IT IS SO ORDERED.
8    Dated: June 17, 2020
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